                Case 2:19-cv-06715-KS Document 8 Filed 08/06/19 Page 1 of 1 Page ID #:59




                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                        CASE NUMBER:
Jeffrey T. Wong,
                                                                                                  CV 19-6715-KS
                                                        Plaintiff(s),
                              v.
Amber Cahill,                                                                   IMPORTANT REMINDER NOTICE

                                                                             (For use in Direct Assignment of Civil Cases
                                                      Defendant(s)               to Magistrate Judges Program only)

TO ALL COUNSEL AND PARTIES OF RECORD:

         The above-entitled case was randomly assigned to Magistrate Judge KAREN L. STEVENSON
         for all purposes pursuant to the Direct Assignment of Civil Cases to Magistrate Judges Program under the authority
         of General Order 11-06 and Local Rule 73-2.

         The parties are reminded that for the above-entitled case to proceed with the assigned magistrate judge, they
         must file and serve joint or separate Consent form(s), indicating whether each party consents. The plaintiff
         must file the Consent form within forty-two (42) days after service of the summons and complaint upon the
         first-served defendant. Each defendant must file the Consent form within forty-two (42) days after service
         of the summons and complaint upon that defendant. If the United States, an agency of the United States, or
         an officer or employee of the United States is a defendant, the government defendant must file the Consent
         form within sixty (60) days after service of summons and complaint upon that defendant.

         Additionally, the parties are directed to Local Rule 73-2.2 Proof of Service. In any case in which only a
         magistrate judge is initially assigned, plaintiff must file a proof of service within 10 days of service of the
         summons and complaint.

         For cases removed to this Court from Superior Court, the joint or separate consent forms must be filed within
         fourteen (14) days after the notice of removal is filed in this Court.

         The parties are free to withhold consent without adverse substantive consequences.

         You may obtain a Statement of Consent form (CV-11C) by visiting the Court’s website at www.cacd.uscourts.gov.

         You may also view the individual professional biographies of all Magistrate Judges currently participating in the
         Direct Assignment of Civil Cases to Magistrate Judges Program at www.cacd.uscourts.gov.

         If you have any questions about the Direct Assignment of Civil Cases to Magistrate Judges Program, you may contact
         the Civil Consent Case Coordinator at 213-894-1871 or consentcoordinator@cacd.uscourts.gov.


         NOTE: The plaintiff or removing party must serve this Notice on each named party in the case.




CV-14 (06/11)                                       IMPORTANT REMINDER NOTICE
                              (For use in Direct Assignment of Civil Cases to Magistrate Judges Program only)
